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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

   Civil Action No. 22-cv-1866-NYW-SKC

   BENJAMIN GATES,
   TRAVIS SWARTZ, and
   NATIONAL FOUNDATION FOR GUN RIGHTS, INC.

           Plaintiffs,

   v.

   JARED S. POLIS, in his official capacity as Governor of the State of Colorado

           Defendant.

   ____________________________________________________________________________

           WITHDRAWAL OF MOTION FOR PRELIMINARY INJUNCTION
   ____________________________________________________________________________

           Plaintiffs’ counsel has discussed this matter with Defendants’ counsel, and the parties

   agree that it will be in the interests of justice and judicial efficiency for Plaintiffs to withdraw

   their request for preliminary relief and for the parties to focus on developing a more detailed

   factual and legal record in the context of Plaintiffs’ request for permanent injunctive relief.

           Accordingly, Plaintiffs Benjamin Gates, Travis Swartz, and National Foundation

   for Gun Rights, Inc., hereby withdraw their motion for preliminary injunction [Doc. 9].

           Plaintiffs request the Court to vacate the hearing presently set for November 17 and 18,

   2022.

   /s/ Barry K. Arrington
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   Attorneys for Plaintiffs

                                   CERTIFICATE OF SERVICE

           I hereby certify that on October 20, 2022, I electronically filed a true and correct copy of
   the foregoing with the Clerk of the Court using the CM/ECF system, which will send
   notification of such filing via email to parties of record.

   /s/ Barry K. Arrington
   _______________________
   Barry K. Arrington




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